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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 0:24-cv-60287-LEIBOWITZ


  HISCOX INSURANCE COMPANY,

         Plaintiff,
  v.

  NIDAL RADWAN, et al.,

        Defendants.
  ________________________________________/

                                                ORDER

         THIS CAUSE is before the Court on Plaintiff’s Partially Unopposed Motion for Dismissal

  [ECF No. 54] (the “Motion”), filed on October 22, 2024. In the Motion, Plaintiff, Hiscox Insurance

  Company (“Hiscox”), seeks court permission to voluntarily dismiss this declaratory judgment action

  pursuant to Federal Rule of Civil Procedure 41(a)(2). [Id.]. After due consideration, the Motion is

  due to be granted for the reasons set forth below.

                                      BACKGROUND FACTS

         On February 21, 2024, Hiscox commenced this action for declaratory relief, seeking a

  declaration as to its duties to defend and indemnify its insureds Defendants Omega 1 TS Inc., Hala

  Elmorshedy, and Tarak Soliman (the “Omega 1 Defendants”) in connection with an underlying action

  filed by Nidal Radwan and Rania Radwan (collectively the “Claimants”) and the default final judgment

  rendered in the Claimants favor against the Omega 1 Defendants. [ECF No. 1]. On September 20,

  2024, Hiscox filed a Notice of Settlement, informing the Court that Hiscox and Claimants had reached

  a settlement. [ECF No. 52]. In the instant Motion, Hiscox represents that the settlement with

  Claimants “resolves Hiscox’s participation as a potential judgment debtor in the proceedings

  supplementary of the underlying action and provides Claimants with a certain amount of monetary


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  consideration, which would act as both a set-off towards the Omega 1 Defendants pending judgment,

  as well as a preclusion of any claims or damages that could arise under the policies of insurance issued

  by Hiscox to Omega 1 TS, Inc.” [ECF No. 54 ¶ 2]. Furthermore, “Claimants have agreed to file a

  Notice of Partial Satisfaction of Judgment in the underlying action, to the extent of the settlement

  amount agreed to[.]” [Id. ¶ 3]. Thus, Claimants agree to dismissal of this action. [Id. ¶ 5].

          The remaining pro se Omega 1 Defendants have all but disappeared from these proceedings.

  A Clerk’s default was entered against Omega 1 TS, Inc. on September 4, 2024. [ECF No. 50]. The

  default was authorized by the Court as a sanction for Omega 1 TS, Inc.’s repeated failure to retain

  counsel to represent it. [See ECF No. 48]. The Court permitted individual Defendants Hala

  Elmorshedy and Tarak Solimon to proceed pro se.            [ECF No. 34]. However, in light of these

  Defendants’ inability to formulate an answer to the Complaint [see ECF Nos. 36, 46] and the

  settlements involving the Claimants, Hiscox’s decision to dismiss this case against these Defendants

  appears to make sense.

                                           LEGAL STANDARD

          Except as provided in Rule 41(a)(1), an action may be dismissed at the plaintiff’s request only

  by court order, on terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2). The purpose of

  Rule 41(a)(2) “is primarily to prevent voluntary dismissals which unfairly affect the other side, and to

  permit the imposition of curative conditions.” McCants v. Ford Motor Co., Inc., 781 F.2d 855, 856 (11th

  Cir. 1986) (citation and internal quotation marks omitted). A district court enjoys broad discretion in

  determining whether to allow a voluntary dismissal under Federal Rule of Civil Procedure Rule

  41(a)(2). Pontenberg v. Boston Scientific Corp., 252 F.3d 1253, 1255 (11th Cir. 2001) (per curiam) (citation

  omitted). In most cases, a motion for voluntary dismissal should be granted “unless the defendant

  will suffer clear legal prejudice other than the mere prospect of a second lawsuit.” McCants, 781 F.2d

  at 857. The crucial question in determining whether to grant a motion for voluntary dismissal is


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  whether “the defendant [would] lose any substantial right by the dismissal.” Pontenberg, 252 F.3d at

  1255. “A plaintiff ordinarily will not be permitted to dismiss an action without prejudice under Rule

  41(a)(2) after the defendant has been put to considerable expense in preparing for trial, except on

  condition that the plaintiff reimburse the defendant for at least a portion of his expenses of litigation.”

  McCants, 781 F.2d at 860 (citations omitted). While the district court should keep in mind the interests

  of the defendant, the court should also “weigh the relevant equities” and do justice between the parties

  in each case, “imposing such costs and attaching such conditions to the dismissal as are deemed

  appropriate.” Id. at 857 (citations omitted).

                                               DISCUSSION

          In the instant case, pro se Defendants Elmorshedy and Solimon—who have hardly participated

  in the proceedings—will not lose any substantial right. They have not asserted any counterclaims.

  Indeed, they have not really answered the Complaint. [See ECF Nos. 36, 46]. Further, because it took

  months for the Court to attempt to elicit an Answer from them, no schedule has been entered even

  though the Complaint was filed on February 21, 2024. Because these Defendants have proceeded pro

  se, they have not been put to “substantial expense” especially since nothing of import has occurred.

  Consequently, there are no equities to weigh here, and the Motion is due to be granted. See

  Kingdomworks Studios, LLC v. Kingdom Story Co., LLC, No. 19-14238-CIV, 2022 WL 820417, at *1 (S.D.

  Fla. Feb. 11, 2022) (granting Rule 41(a)(2) Motion) (Martinez, J.).           Accordingly, it is hereby

  ORDERED AND ADJUDGED as follows:

          1.      The Motion to Dismiss pursuant to Rule 41(a)(2) [ECF No. 54] is GRANTED.

          2.      This case is DISMISSED WITHOUT PREJUDICE.

          3.      The Clerk is DIRECTED to CLOSE this case.

          4.      All pending motions are DENIED AS MOOT.




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